      Case: 1:17-cv-05915 Document #: 88 Filed: 01/23/19 Page 1 of 2 PageID #:817




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 VALERIE JACKSON.

                 Plaintiff,
                                                              No. I : l7-cv-5915
 V.
                                                              Hon. Charles R. Norgle
 NATIONWIDE CREDIT & COLLECTION
 INC.,

                 Defendant.

                                               ORDER

Defendant's Motion for Sanctions [46] is granted in part and denied in part. Plaintiff s Counsel is
ordered to pay Defendant its attorneys' fees and costs in the amount of $1,485.00.

                                            DISCUSSION

       Plaintiff Valerie Jackson ("Plaintiff') brings the instant action against Defendant
Nationwide Credit & Collection, Inc. ("NCC" or "Defendant") for alleged violations of the Fair
Debt Collection Practices Act, l5 U.S.C. 5 1692, et seq. ("FDCPA"), and the Illinois Collection
Agency Act,225 ILCS 42519 ("ICAA"). Before the Court is Defendant's motion for sanctions.
For the following reasons, that motion is granted.
        On February 16,2018, Defendant served its discovery requests on Plaintiff. Plaintiff
objected to Defendant's request to produce Plaintiffs retainer agreement with her Counsel,
Plaintiff did not inform Defendant that no such document existed. On April 23,2018, the parties
conducted a Rule 37 conference where Plaintiff again objected to the production of the retainer
agreement and again made no mention that there was no retainer agreement to produce. On May
2,2018, Defendant filed its Motion to Compel Plaintiff s retainer agreement. On May 4,2018, the
Court granted that motion, over Plaintiff s objection, and ordered Plaintiff to produce the retainer
agreement before Plaintiffs deposition. After the May 4,2018 Hearing and before Plaintiffs
deposition, Plaintiff created a retainer agreement and turned it to Defendant two hours before
Plaintiffls deposition. At her deposition, Plaintiff testified that she initialed and signed the retainer
agreement the week before the deposition. Pl.'s Dep. at 51:6-l l. Defendant argues that it would
not have incurred attorneys' fees for the motion to compel a document that did not exist if it had
known the same.
        The Federal Rules of Civil Procedure and the inherent authority of the courts to manage
their own matters provide authority to sanction a litigant who fails to abide by its discovery
obligations. Fed. R. Civ. P.37; Chambers v. NASCO. Inc., 501 U.S. 32,43, (1991) (the Court as
an inherent authority to "govern[] not by rule or statute but by the control necessarily vested in
courts to manage their own affairs so as to achieve the orderly and expeditious disposition of
cases."). As the court in Gaytan v. Kapus explained:
      Case: 1:17-cv-05915 Document #: 88 Filed: 01/23/19 Page 2 of 2 PageID #:817




        "The federal courts' supervision ofthe discovery process, and the courts'
        concomitant authority to upbraid those who do not play by the rules, is rooted in
        the need for maintaining the integrity of the trial process. Hence the impetus
        behind a court's deployment of sanctions is not merely to punish a party for
        untoward acts or omissions; it is, equally, to deter other litigants from
        disregarding the imperatives of the Civil Rules."

l8l   F.R.D. 573, 580 (N.D. Ill. 1998) (quoting Thibeault v. Square D. Co., 960 F.2d 239,245 (lst
 Cir. t992)).
         Here, Plaintiff has not been forthcoming with Defendant, nor candid with the Court. The
scope of Plaintiff s Counsel's representation is central to her claims against Defendant. There were
several opportunities for Plaintiff to inform Defendant that the document it sought, Plaintiff s
retainer agreement, did not exist. Rather than reveal that there was no retainer agreement, Plaintiff
repeatedly objected to turning the document over. Plaintiffs objections resulted in a Rule 37
conference and Defendant's subsequent motion to compel. At the May 4,2018 Hearing on the
motion to compel, the Court asked Plaintiff s Counsel if she was objecting to discovery on the
scope of Plaintiff s representation of counsel. Dkt. 62 at3:20-22. Plaintiff s Counsel said that she
was not objecting to scope; rather, she was objecting to turning over "our representation agreement
because we don't think it is relevant to any of their claims." Id. at3,,23-25. However, at the time
Plaintiff s Counsel made that statement to the Court, there was still no existing retainer agreement
with Plaintiff. Pl.'s Dep. at 51 :6-1 1. Cleveland Hair Clinic. Inc v. Puie, 200 F.3d 1063, 1067 (7th
Cir. 2000) ("A lawyer's duty of candor to the court must always prevail in any conflict with the
duty of zealous advocacy"). Relying on the representations made by Plaintiff and Defendant, the
Court ordered Plaintiff to turnover a document that did not exist. At a later date Plaintiff created
the document, tumed it over to Defendant and now argues no harm no foul. However, Plaintiff s
subsequent conduct to the May 4,2018 Hearing does not pardon her prior obfuscation regarding
the existence of the retainer agreement. Plaintifls unnecessary obfuscation caused Defendant to
file a motion to compel for a nonexistent document and resulted in unnecessary delay and needless
increase in the cost of litigation. Fed. R. Civ. P. 26(9)(1)(B)(ii). Plaintiff s conduct violated the
spirit of complete, non-evasive discovery embodied in the Federal Rules.
         Accordingly, the Court orders Plaintiff s Counsel to pay Defendant for the fees and costs
associated with seeking Plaintiff s retainer agreement in the amount of $1,485.00.
         IT IS SO ORDERED.
                                                 ENTER:




                                              CHARLES RONALD N               LE, Judge
                                              United States District
DATE:   January 23,2019
